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                                                                                                        10/31/2019
                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

    In re:                                                            § Chapter 11
                                                                      §
    ZENERGY BRANDS, INC., et al.,1                                    § Case No. 19-42886
                                                                      §
                      Debtors.                                        § (Joint Administration Requested)

                  ORDER GRANTING CHAPTER 11 COMPLEX CASE TREATMENT

             These bankruptcy cases were filed on October 24, 2019. Notice of Designation as Complex

Chapter 11 Cases were filed. After review of the initial pleadings filed in these cases, the court

concludes that these cases appear to be complex Chapter 11 cases. Accordingly, unless the court

orders otherwise,

             IT IS ORDERED:

             1.      The debtors shall maintain a service list identifying the parties that must be served

whenever a motion or other pleading requires notice. Unless otherwise required by the Bankruptcy

Code or Rules, notices of motions and other matters will be limited to the parties on the service

list.

                     a)       The service list shall initially include the debtors, debtors’ counsel, counsel
                              to TCA Global Credit Master Fund, LP, Counsel for TCA Special Situations
                              Credit Strategies ICAV, the Debtors’ senior lender, the U.S. Trustee for the
                              Eastern District of Texas, all secured creditors, the 20 largest unsecured
                              creditors of each debtor, any indenture trustee, and any party that requests
                              notice;

                     b)       Any party in interest that wishes to receive notice, other than as listed on
                              the service list, shall be added to the service list by filing and serving the



1
  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and Zen
Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX
75024.



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                         debtors and debtors’ counsel with a notice of appearance and request for
                         service.

                c)       Parties on the service list, who have not otherwise consented to service by
                         e-mail, through the act of becoming a registered e-filer in this district, are
                         encouraged to provide an e-mail address for service of process and to
                         authorize service by e-mail; consent to e-mail service may be included in
                         the party's notice of appearance and request for service; in the event a party
                         has not consented to e-mail service, a "hard copy" shall be served by fax or
                         by regular mail.

                d)       The initial service list shall be filed within 3 days after entry of this order.
                         A revised list shall be filed 7 days after the initial service list is filed. The
                         debtor shall update the service list, and shall file a copy of the updated
                         service list, (i) at least every 7 days during the first 30 days of the case; (ii)
                         at least every 15 days during the next 60 days of the case; and (iii) at least
                         every 30 days thereafter throughout the case.


       2.       Initially, the Debtors’ hearing dates will be: November 19, 2019, December 3,

2019, December 17, 2019, January 7, 2020, January 21, 2020, February 4, 2020, February 18,

2020, March 3, 2020, and March 17, 2020. The Debtors’ counsel or counsel for other parties in

interest shall contact the courtroom deputy to obtain subsequent hearing dates. Debtors’ counsel

shall notice out subsequent hearing dates. All motions and other matters requiring hearing, but not

requiring expedited or emergency hearing, shall be noticed for hearing, on the next hearing day

that is at least 23 days after the notice is mailed. As a preface to each pleading, just below the case

caption, [in lieu of the language required by any Local Bankruptcy Rule] the pleading shall state:


                         A HEARING WILL BE CONDUCTED ON THIS MATTER ON
                         _________________ AT _____ AM/PM IN THE UNITED STATES
                         BANKRUPTCY COURTROOM, [COURTHOUSE NAME &
                         ADDRESS], ______________, TEXAS. IF YOU OBJECT TO THE
                         RELIEF REQUESTED, YOU MUST RESPOND IN WRITING,
                         SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
                         PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT,
                         YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
                         BANKRUPTCY COURT WITHIN TWENTY-THREE DAYS FROM
                         THE DATE YOU WERE SERVED WITH THIS PLEADING. YOU
                         MUST SERVE A COPY OF YOUR RESPONSE ON THE PERSON
                                                           2
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                         WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY
                         TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
                         RELIEF REQUESTED.


                a)       The party filing a motion with a notice for a hearing MUST email the
                         courtroom deputy at CRD_PLANO@txeb.uscourts.gov so that the hearing is
                         properly scheduled on the Court’s docket. A hearing on the motion is not
                         scheduled on the Court’s docket until the courtroom deputy receives the email
                         and schedules the motion for hearing.

                b)       All motions and other matters requiring expedited or emergency hearing
                         shall comply with the usual court requirements for explanation and
                         verification of the need for emergency or expedited hearing. Specifically, if
                         a party in interest has a situation that it believes requires consideration on
                         less than 23-days’ notice, then the party should file and serve a separate,
                         written motion for expedited hearing, with respect to the underlying motion.
                         If the court grants the motion for expedited or emergency hearing, the
                         underlying motion will be set by the courtroom deputy at the next available
                         pre-set hearing day or at some other appropriate shortened date approved
                         by the court. The party requesting the hearing shall be responsible for
                         providing proper notice in accordance with this order and the Bankruptcy
                         Code and Rules.

        3.      Emergency and expedited hearings (and other hearings in limited circumstances)

in this case may be conducted by telephone or, where available, video. Parties must request

permission    to     participate     by     telephone          by   emailing       the   courtroom       deputy   at

ECRO_PLANO@txeb.uscourts.gov.

        4.      If a matter is properly noticed for hearing and the parties reach a settlement of the

dispute prior to the final hearing, the parties may announce the settlement at the scheduled hearing.

If the court determines that the notice of the dispute and the hearing is adequate notice of the effects

of the settlement, (i.e., that the terms of the settlement are not materially different from what parties

in interest could have expected if the dispute were fully litigated) the court may approve the

settlement at the hearing without further notice of the terms of the settlement.

        5.      The debtors shall give notice of this order to all parties in interest within 7 days. If

any party in interest, at any time, objects to the provisions of this order, that party shall file a
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motion articulating the objection and the relief requested. After hearing the objection and any

responses the court may reconsider any part of this order and may grant relief, if appropriate.



                                                                       Signed on 10/31/2019

                                                                                                                 SR
                                                          HONORABLE BRENDA T. RHOADES,
                                                          UNITED STATES BANKRUPTCY JUDGE




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